
414 So.2d 774 (1982)
Larry G. MOBLEY
v.
REGO COMPANY, et al.
No. 82-C-1156.
Supreme Court of Louisiana.
May 28, 1982.
Denied, 412 So.2d 1143.
MARCUS and BLANCHE, JJ., would grant the writ.
LEMMON, J., concurs in the denial and assigns reasons.
LEMMON, Justice, concurring in the denial of certiorari.
While the state owes no duty to plaintiff to provide him with a safe place to work, the party who owed plaintiff that duty relied on the state's inspection and approval. Under these peculiar circumstances, legal liability is imposed on the state for affirmatively contributing to the creation of the hazard.
